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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


  UNITED STATES OF AMERICA,
                                                          Case No. 06-20465
          Plaintiff,
                                                          Honorable Nancy G. Edmunds
  v.

  D-01 AREF NAGI,
  D-05 MICHAEL CICCHETTI,
  D-17 GARY BALL, JR.,
  D-18 LEONARD (“DAD”) MOORE,
  D-20 JOSEPH WHITING,
  D-37 ANTHONY CLARK,

          Defendants.
                                           /


     OPINION AND ORDER DENYING DEFENDANTS’ RULE 29 MOTIONS FOR
  ACQUITTAL AND RULE 33 MOTIONS FOR A NEW TRIAL [1515, 1523, 1524, 1525]
                      AND JOINDERS [1526, 1533]


       This matter comes before the Court after an extensive jury trial that began on April 1,

  2010 and concluded with guilty verdicts on June 3, 2010. Defendants Nagi, Cicchetti, Ball

  Jr., Leonard “Dad” Moore, Joseph Whiting, and Anthony Clark, along with numerous other

  individuals, were charged in a second superseding indictment with violating federal

  racketeering laws and other federal laws involving violent acts, firearms, controlled

  substances, and stolen property. The jury returned the following guilty verdicts:

       D-01 Aref “Steve” Nagi
       Ct. 1 - 18 U.S.C. § 1962(c)             Racketeer Influenced and Corrupt Organization
                                               (“RICO”) - Conducting or Participating in affairs
                                               of an Enterprise through a Pattern of Racketeering
                                               Activity
       Ct. 2 -    18 U.S.C. § 1962(d)          Conspiracy to violate RICO
       Ct. 7 -    18 U.S.C. § 1959(a)(3)       Assault with a dangerous weapon in aid of
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                                          Racketeering (“Wheat & Rye”)
      Ct. 15 -   18 U.S.C. § 2312         Conspiracy to transport stolen vehicles in
                                          Interstate Commerce (“Myrtle Beach”)
      Ct. 16 -   18 U.S.C. §§ 511, 371    Conspiracy to alter, remove, and obliterate
                                          Vehicle Identification Numbers
                                          (“Walkabout Cycle”)
      Ct. 19 -   21 U.S.C. § 846          Conspiracy to Possess with intent to distribute
                                          and Distribution of Controlled Substances
      Ct. 31 -   18 U.S.C. § 924(c)       Use of Firearm during and in relation to crime
                                          of violence (“Wheat & Rye”)

      D-05 Michael “Cocoa” Cicchetti
      Ct. 2 - 18 U.S.C. § 1962(d)         Conspiracy to violate RICO
      Ct. 7 - 18 U.S.C. § 1959(a)(3)      Assault with a dangerous weapon in aid of
                                          Racketeering (“Wheat & Rye”)
      Ct. 19 -   21 U.S.C. § 846          Conspiracy to Possess with intent to distribute
                                          and Distribution of Controlled Substances
                                          (“Nagi”)(less than 1 kilogram cocaine)
      Ct. 31 -   18 U.S.C. § 924(c)       Use of Firearm during and in relation to crime
                                          of violence (“Wheat & Rye”)

      Gary “Junior” Ball Jr.
      Ct. 1 - 18 U.S.C. § 1962(c)         Racketeer Influenced and Corrupt Organization
                                          (“RICO”)
      Ct. 2 -    18 U.S.C. § 1962(d)      Conspiracy to violate RICO
      Ct. 15 -   18 U.S.C. § 2312         Conspiracy to transport stolen vehicles in
                                          Interstate Commerce (“Myrtle Beach”)
      Ct. 19 -   21 U.S.C. § 846          Conspiracy to Possess with intent to distribute
                                          and Distribution of Controlled Substances
                                          (“Nagi”)(more than 5 kilograms cocaine)
      Ct. 20 -   21 U.S.C. § 846          Conspiracy to Possess with intent to distribute
                                          and Distribution of Controlled Substances
                                          (“Whitehouse”)
      Ct. 36 -   18 U.S.C. §§ 511, 371    Conspiracy to alter, remove, and obliterate
                                          vehicle identification numbers (“Pal’s Auto”)

      Leonard “Dad” Moore
      Ct. 2 - 18 U.S.C. § 1962(d)         Conspiracy to violate RICO

      Joseph “Little Joe” Whiting
      Ct. 1 - 18 U.S.C. § 1962(c)         Racketeer Influenced and Corrupt Organization
                                          (“RICO”)
      Ct. 2 -    18 U.S.C. § 1962(d)      Conspiracy to violate RICO
      Ct. 13 -   18 U.S.C. § 1959(a)(5)   Conspiracy to commit murder in aid of
                                          Racketeering (“Doug Burnett”)

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       Ct. 47 -   18 U.S.C. § 2313           Receipt and Possession of Stolen Vehicle in
                                             Interstate Commerce (“Myrtle Beach”)

       Anthony “Mad Anthony” Clark
       Ct. 2 - 18 U.S.C. § 1962(d)           Conspiracy to violate RICO

       The Court now considers the following defense motions seeking either acquittal or a

  new trial: (1) Defendant Anthony Clark’s post-trial motion for acquittal pursuant to Fed. R.

  Crim. P. 29(c) [1515], (2) Defendant Leonard “Dad” Moore’s motion for judgment of

  acquittal or for a new trial [1523], (3) Defendant Cicchetti’s renewed motion for judgment

  of acquittal and/or new trial [1524], joined by Defendant Nagi [1526], and (4) Defendants

  Whiting’s, Dad Moore’s, Cicchetti’s, Ball Jr.’s, and Nagi’s consolidated motion for judgment

  notwithstanding the verdict or, in the alternative, for a new trial [1525], joined by Defendant

  Anthony Clark with regard to Rule 29 issues and arguments only [1533]. For the reasons

  stated more fully below and on the record at the September 7, 2010 motion hearing, this

  Court DENIES Defendants’ motions.

  I.   Background

       During the course of the two month long jury trial, approximately 50 fifty witnesses –

  including Co-Defendants – testified and hundreds of exhibits were entered into the record.

  A brief overview of that evidence is as follows.

       Defendants share a common factor. Each has held a leadership position in the

  Highwaymen Motorcycle Club (“HMC”).

       The HMC was founded in Detroit in 1954. Although not a national club, it has

  chapters in Kentucky, Tennessee, Florida, and Indiana. At one time, it also had an

  Alabama chapter.      In Michigan, chapters are located in Detroit (four chapters), the

  Downriver area, Washtenaw County, Monroe, and Lansing. Chapter officers include a

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  president, vice president, treasurer, master sergeant at arms, sergeant at arms, and

  general members. The vice president takes over the duties of the president in his absence.

  The treasurer is responsible for conducting roll call at HMC meetings, records member

  dues, and handles all chapter finances. The secretary is responsible for taking notes

  during HMC meetings. The secretary and treasurer positions are often held by the same

  person. (Trial Tr. Vol. 4, Brzezinski at 4-6.) The sergeant at arms or master sergeant is

  responsible for collecting past dues from delinquent members, protects the chapter

  president, and acts as an enforcer by carrying out all the president’s orders. Numerous

  witnesses testified that the chapter president decides the punishment, and the master

  sergeant carries it out in the back room. (Trial Tr. Vol. 19, McDonald at 8-10.) For

  example, witness William Bridges testified about an incident where a young man was being

  thrown out of the HMC, was taken into the clubhouse back room, and was beaten. HMC

  members held him down and tattooed a big black mark over the HMC tattoo on the young

  man’s arm.

       Each chapter has a clubhouse which is used for a variety of purposes like holding

  meetings, parties, and other events. Each chapter has weekly, mandatory meetings that

  all members are required to attend, and a member is fined if he fails to do so. Regular

  “bosses” meetings are also scheduled and attended by the national president, chapter

  presidents, and “committee” members.

       Membership in the HMC is limited to males and is the result of a controlled selection

  process initiated when an individual becomes an associate or “probie.” After completion

  of a probation period, the new member then obtains “patched” member status. Patched

  and probated HMC members are required to attend special events referred to as “runs.”

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  Examples of “runs” include the annual Daytona Bike Week, Biketoberfest, and the Sturgis,

  South Dakota motorcycle rally. Failure to attend a mandatory “run” can subject a member

  to disciplinary action.

       Members are expected to abide by a written HMC constitution and by-laws. Violations

  may result in fines, expulsion, another probationary period, or physical violence. Several

  HMC witnesses testified that, although the HMC constitution had rules on no drugs in the

  clubhouse and no police as members, these rules were ignored because several members

  were police officers and no HMC officer ever tried to stop the common occurrence of drug

  activity in the HMC clubhouses. (Trial Tr. Vol. 19, McDonald at 25-26.) Doug Burnett

  testified that he used some of his drug sales profits to pay his HMC dues. (Trial Tr. Vol. 5,

  D. Burnett at 74-75.) Numerous witnesses testified that the HMC chapters sold alcohol

  despite the lack of a liquor license, and donation signs were just a ploy to get around the

  police. Some HMC chapters also had poker machines that paid out winnings.

       Members wear “colors” or leather vests or jackets with the HMC emblem on the back.

  The colors may display other symbols. These include “MC” for motorcycle club; a 1%

  patch to distinguish the HMC from the 99% of legitimate, law abiding motorcycle groups;

  and lightening rod patches, which are awarded to members who perform a violent act either

  on behalf of the HMC or at the request of HMC leaders.

       Gerald Peters testified that before 2004, membership in the HMC was 24/7 – you

  could not have a job. After 2004, the HMC wanted money, so members were allowed to

  have jobs. As support, the government entered into evidence the vest belonging to

  Lansing Chapter President Michael Kukla with the 24/7 emblem on it.

       Under the HMC’s organizational structure, the national president supervises all

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  chapters, and the president of the Detroit chapter holds the position of second in command.

  According to witnesses, Defendant Anthony Clark was the first national president, followed

  by Gerald Peters, and then Joseph Whiting. All other chapter presidents report to the

  Detroit president. Numerous witnesses also testified that, despite leadership titles held by

  others, Defendant Leonard “Dad” Moore, who was known as the HMC “godfather,” had the

  top position of power and controlled the HMC from behind the scenes. Dad Moore has

  been a long time member of the HMC, was involved in all critical decisions, and is

  recognized by members as HMC’s true leader. (Trial Tr. Vol. 16, L. Fitzner at 15-16; Vol.

  7, B. Burton at 71; Vol. 13, G. Peters at 100-01; Vol. 18, D. Sanchez at 11-12, 26-27.) For

  example, Gerald Peters testified that he was angry when the Westside Chapter voted Dad

  Moore in as godfather because, in his mind, Max Barnes was the true godfather. Peters

  further testified that, after that vote, Dad Moore painted his name in gold on his colors —

  everyone else wears their name in silver. Dad’s vest, which was entered as a government

  exhibit, was seized during a search of his home. Traces of gold paint are visible on the

  vest. Another witness, Doug Burnett testified that Dad told him that he (Dad) was the

  godfather of the HMC. Burnett also testified that Dad ran the HMC — that you had to run

  everything through him and Whiting. Gerald Peters testified that, when he stepped down

  as the national president, Dad called him and told Peters that Dad was putting Whiting in

  as national president and that Peters would be president of the Eastside chapter.

       Almost every cooperating witness explained that the HMC had set up a “committee”

  to oversee the activities of and make decisions for the HMC, including discipline of

  members. (Trial Tr. Vol. 7, Burton at 70-71; Vol. 17, N. Sanchez at 10; Vol. 16, L. Fitzner

  at 10-11.) Members of the “committee” included: Robert Burton, Joseph Burton, Dad

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  Moore, Joseph Whiting, Anthony Clark, Michael Cicchetti, and Aref Nagi. Witnesses further

  testified that everything went through the committee and that Joseph Whiting, as national

  president, oversaw everything. Robert Burton testified that, although committee members

  changed, Dad Moore ran the committee. (Trial Tr. Vol. 7, Burton at 71.) Lou Fitzner

  testified that Dad Moore, Joseph Whiting, and Michael Cicchetti were constant members

  of the committee, and others fluctuated in and out. (Trial Tr. Vol. 16, L. Fitzner at 8-10, 16-

  17, 80.) The HMC also had honorary members or “honoraries;” past officers and long-time

  members voted in by HMC members. Honoraries served on the committee and advised

  the national president. Honoraries included Dad Moore, CICCHETTI, Whiting, Clark, and

  Ball. (Trial Tr. Vol. 7, Burton at 70-71; Vol. 18, D. Sanchez at 11.)

       There was ample evidence at trial of HMC associated criminal activity, including acts

  of violence like arson, assault, conspiracy to commit murder, and robbery as well as theft,

  drug trafficking, and weapons offenses. Much of this violence results from the HMC being

  in constant conflict with rival biker clubs. HMC leadership enforces its authority over a

  territory by directing members to attack rival gangs. Other attacks are directed at persons

  who, although unaffiliated with a rival gang, are perceived to disrespect an HMC member.

  The HMC also plans and directs attacks against those perceived to have “squealed” and

  are “snitches.” Witness testified that, because of their reputation for violence, an HMC

  member is more likely to get away with a crime due to the victim’s fear of retaliation if the

  crime is reported. HMC members are fully aware of and actively cultivate this fear of

  retaliation. Handling situations for the HMC improves or enhances your standing and

  reputation in the HMC. Witnesses testified that HMC members always travel in large

  groups and go to bars in large numbers to reenforce the message that you don’t mess with

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  the HMC.

  II.   Analysis

        At the end of the government’s case-in-chief, Defendants moved for a directed verdict

  of not guilty. Those motions were denied, and the trial continued to a jury verdict of guilt

  as to all Defendants. Defendants have now filed post-trial motions for acquittal or a new

  trial. The Court first considers Defendants’ motions for a new trial brought pursuant to Rule

  33 of the Federal Rules of Criminal Procedure.

        A. Rule 33 Motion for New Trial

        1. Standard of Review

        As the Sixth Circuit recently observed, “[a] motion for a new trial under Rule 33 is

  premised on the argument that the jury’s verdict was against the manifest weight of the

  evidence.” United States v. Montgomery, 358 F. App’x 622, 628 (6th Cir. 2009) (citing

  United States v. Hughes, 505 F.3d 578, 593 (6th Cir. 2007)). “In considering the weight of

  the evidence for purposes of adjudicating a motion for a new trial, the district judge may act

  as a thirteenth juror, assessing the credibility of witnesses and the weight of the evidence.”

  Id. “Generally, such motions are granted only in the extraordinary circumstances where

  the evidence preponderates heavily against the verdict.” Id. (internal quotation marks and

  citations omitted).

        2. The Government Did Not Engage in a Pattern of Misconduct

        Defendants move for a new trial, arguing that the government engaged in a pattern

  of prosecutorial misconduct. First, with regard to the government’s use of informants,

  Defendants contend that the government (a) violated its obligations under Brady v.



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  Maryland, 373 U.S. 1983 (1963) by providing untimely notice of payments to informants

  and cooperating witnesses; (b) improperly paid money to cooperating witnesses, including

  the payment of a bonus to Douglas Burnett for testimony in the Viramontez prosecution;

  (c) violated established procedure for U.S. Attorneys by not entering into Rule 11 plea

  agreements with cooperating Defendants; (d) coerced the testimony of cooperating

  Defendant Christopher Miller; and (e) improperly shielded cooperating Defendant Daniel

  Sanchez from cross-examination regarding his admitted participation in a murder at a HMC

  Detroit clubhouse and the subsequent arson of the clubhouse in an attempt to conceal that

  murder. Second, with regard to the government’s proofs at trial, Defendants contend that

  the government (a) improperly proceeded to trial on several charges that it knew it could

  not prove and which were ultimately dismissed at the close of the government’s case-in-

  chief; (b) improperly portrayed Defendants as belonging to a violent organization despite

  knowing that it could not prove that some Defendants had engaged in violent acts; and (c)

  improperly introduced evidence of uncharged crimes, i.e., unauthorized sale of alcohol and

  gambling in HMC clubhouses.

       a. Government’s Use of Informants/Co-Defendants

          (i) Timely Notice to Defendants

       The Court first addresses Defendants’ arguments that the government violated its

  Brady obligations by providing untimely notice of payments to informants and cooperating

  witnesses. Despite Defendants’ arguments to the contrary, the government provided timely

  notice of the challenged payments and thus did not violate its Brady obligations.

       On March 26, 2010, during a pre-trial motion hearing at which all Defendants were

  present, the government hand delivered a letter (Gov’t Resp., Ex. 1) to defense counsel

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  identifying payments made to witnesses, including the amounts specifically attributed to

  witness relocation:

       Louis Fitzner -         $16,742.16 ($14,742.16 of it for relocation)
       Gerald Peters -         $20,705    ($10,705 of it for relocation)
       Douglas Burnett -       $73,412.72 ($27,500 of it for relocation)
       Robert Burton -         $10,927.64 (all for relocation)
       Daniel Sanchez -        $16,200    (all for relocation)
       Gerald Deese -          $ 500

  (Id. at 1.) As revealed in the March letter, defense counsel was informed before trial that

  Robert Burton and Daniel Sanchez received money only for relocation. As far as the

  government can recall, the $500 Gerald Deese received was for payment of a fine or ticket.

  Three witnesses – Lou Fitzner, Gerald Peters, and Doug Burnett – received money in

  excess of relocation costs. Also, on April 19, 2010, during trial but well in advance of his

  May 11, 2010 testimony, the government hand delivered another letter to Defendants that

  detailed the payment of $44,037.34 to Phil McDonald, all of which was used for relocation.

  (Gov’t Resp., Ex. 2, 4/19/10 letter at 1.)

       The Sixth Circuit has observed that “‘[t]here is no general constitutional right to

  discovery in a criminal case, and Brady did not create one. . . .’” United States v. Mullins,

  22 F.3d 1365, 1371 (6th Cir. 1994) (quoting Weatherford v. Bursey, 429 U.S. 545, 559

  (1977)). The Mullins court further explained:

       Rather, Brady is concerned only with cases in which the government possesses
       information which the defendant does not, and the government’s failure to
       disclose the information deprives the defendant of a fair trial. Reversal is only
       required, therefore, where there is a reasonable probability that, had the
       evidence been disclosed to the defense, the result of the proceeding would have
       been different. A reasonable probability is a probability sufficient to undermine
       the confidence in the outcome. Furthermore, the Brady rule only applies to the
       discovery, after trial, of information which had been known to the prosecution but
       unknown to the defense.


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  Id. (internal quotation marks and citations omitted and emphasis added). Accordingly, “[t]o

  establish a Brady violation, [the defendant] has the burden of showing that the Government

  suppressed evidence, that such evidence was favorable to the defense, and the

  suppressed evidence was material.” United States v. Graham, 484 F.3d 413, 417 (6th Cir.

  2007). Defendants have not met that burden.

         Here, before each witness testified, Defendants had notice of payments made by the

  government to each witness along with notice of the portion of each payment that was

  attributed to relocation costs.   Defendants thus had ample opportunity during cross

  examination to explore these witness payments, beginning with the cross examination of

  the government’s first witness, Special Agent Ted Brzezinski.          Despite Defendants’

  arguments to the contrary, Agent Brzezinski’s testimony at trial notified them of the

  breakdown of all sums Doug Burnett received, thus allowing them to cross examine both

  Agent Brzezinski and Burnett about the $25,000 bonus Doug Burnett received for his

  cooperation in connection with the Anthony Viramontez case. (Trial Tr., Vol 4, Brzezinski

  at 26, 111-14; Vol. 5, Brzezinski at 11-13, 16-21, 29-32; Vol. 5, Burnett at 113, 116-19, 131-

  34.)

         (ii) Payments to Witness Is Not Contrary to Law or U.S. Attorney Guidelines

         Defendants argue that the payments made by the government to witnesses in this

  case were contrary to U.S. Attorney Guidelines and were, in essence, more susceptible to

  abuse than the informer contingent fee arrangements condemned by the Fifth Circuit in

  Williamson v. United States, 311 F.2d 441 (5th Cir. 1962). Defendants’ arguments are

  rejected.    As Defendants acknowledge, the Sixth Circuit has refused to apply the

  Williamson exclusionary rule involving contingent fee arrangements with informers and

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  held, in United States v. Grimes, 438 F.2d 391, 395 (6th Cir. 1971), that “[r]ather than

  adopting an exclusionary rule for a particular factual situation, irrespective of the mode of

  payment, we prefer the rule that would leave the entire matter to the jury to consider in

  weighing the credibility of the witness informant.” The Grimes court concluded that “this

  approach provides adequate safeguards for the criminal defendant against possible abuses

  since the witness must undergo the rigors of cross examination.” Id. It reasoned that

  paying an informant “on a contingent fee arrangement for the conviction of specified

  persons for crimes not yet committed,” was “no more likely” to “be prone to lie and

  manufacture crimes . . . than witnesses acting for other, more common reasons.” Id. at

  395-96. It explained further.

       Frequently, for example, one co-defendant testifies against another co-defendant
       with the expectation of favorable treatment as a reward for his testimony. Like
       the informant being paid on a contingent fee basis, a co-defendant so testifying
       may feel it imperative to obtain a conviction of his co-defendant in order to
       improve his own position. Similarly, informants paid on bases other than a
       contingent arrangement may feel that their employment will be terminated if they
       do not bring about a conviction. Therefore, despite admonitions to the contrary,
       they may believe that their future employment as an informant depends on the
       manufacture of crimes in order to prove their worth to the government. Neither
       of these methods of “paying” informers has been seriously attacked by the
       courts; yet the potential for abuse is obvious in each case.

  Id. at 396 (internal footnote omitted). In rejecting application of the Williamson rule in the

  Sixth Circuit, the Grimes court observed that “[i]t is well-recognized that informers are an

  important and necessary aspect of our system of criminal justice” and concluded that cross-

  examination was an adequate means for defense counsel to place before the jury the

  issues of witness credibility and the weight that should be placed on an informant witness’s

  testimony. Id.

       Defendants fail to convince the Court that it should ignore this well-established Sixth

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  Circuit precedent. Defendants had ample opportunity to cross-examine Agent Brzezinski

  and witness Doug Burnett about Burnett’s expectation of a reward or bonus in this matter

  similar to the one he obtained as a result of his cooperation in the Viramontez criminal

  matter. Mr. Burnett consistently testified that the federal agents had told him that if he was

  truthful, they could recommend that he be paid a bonus in this matter, that no specific

  amount was ever mentioned, and that “[a]ll’s I’m doing is going to speak truthful about this

  case,” and that he did not know he was going to get $25,000 for the Viramontez case but

  “still did it anyway.” (Trial Tr. Vol. 5, Burnett at 117-19, 132-34; see also Trial Tr. Vol. 5,

  Brzezinski at 30-32.) Mr. Burnett came in voluntarily to assist the FBI; he had not been

  charged at the time with any crime nor was he the subject on any FBI investigation. He

  was involuntarily relocated in 2006 away from his children. His parents had to move three

  times since this case started. He received the Viramontez $25,000 bonus in 2007 and

  continued to cooperate with the government. (Id.)

       Defendants’ second argument also lacks merit. Testimony at trial established that the

  government followed the Attorney General Guidelines concerning witness payments.

  Agent Brzezinski testified on direct and cross examination about the amounts and

  justifications for payments made to witnesses. There was extensive cross examination

  about the procedures, rules, policies, and levels of approval necessary to provide funds of

  any kind to informants, cooperating defendants, and witnesses, including approval from the

  Justice Department. (Trial Tr. Vol. 4, Brzezinski at 75-86, 94-97.)

       Agent Brzezinski testified that informants, witnesses, and cooperating defendants are

  commonly provided funds to compensate for a lack of income while they actively work for

  the FBI. This allows them to maintain a lifestyle that provides access to the individuals the

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  FBI is investigating. (Trial Tr. Vol. 4, Brzezinski at 25-26, 76, 107-109.) He also testified

  that relocation funds are determined by Justice Department calculations based on moving

  costs, number of family members involved, as well as cost of living expenses for several

  months after a witness is relocated. (Trial Tr. Vol. 5, Brzezinski at 17-18.)

       Three witnesses received money from the government solely for relocation: Phil

  McDonald, Robert Burton, and Daniel Sanchez. Mr. Deese received $500 which, as far as

  the government can recall, was for Deese’s payment of a fine or ticket. Three witnesses

  – Doug Burnett, Lou Fitzner, and Gerald Peters – received funds from the government in

  addition to their relocation costs.

       As discussed above, Mr. Burnett was paid a $25,000 bonus in the Viramontez criminal

  matter and $27,000 for relocation purposes in this matter. Doug Burnett was also paid

  approximately $2,500 a month to pay for living expenses like cell phone bills, gas, and rent

  as well as money that allowed him to maintain a lifestyle that provided Burnett with access

  to the individuals the FBI was investigating. (Trial Tr. Vol. 4, Brzezinski at 108-114; Vol.

  5, Brzezinski at 12-13, 17; Vol. 5, Burnett at 113-14, 116-17, 126-136, 147-48.) Lou Fitzner

  testified that he received approximately $14,000 for relocation costs and another $1,000

  to pay off fines and court costs from unrelated cases so he could move (presumably to

  avoid warrants from being issued while he was out of state). (Trial Tr. Vol. 16, Fitzner at

  104-06.) Gerald Peters received approximately $11,000 for relocation costs and another

  $10,000 to pay off bills and other expenses so he could be relocated. (Trial Tr. Vol. 13,

  Peters at 158-60.) The only witness money that was not associated with relocation

  expenses, or the cost of maintaining a lifestyle while working for the government, was the

  $25,000 paid to Burnett as a bonus in the Viramontez case.

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       (iii)   Rule 11 Plea Agreements Are Not Required

       Without supporting authority, Defendants argue that the government committed

  misconduct by not entering into plea agreements with cooperating Defendants prior to trial.

  There is no requirement that the government do so. More importantly, as discussed above,

  Defendants had ample opportunity during cross-examination of Agent Brzezinski and each

  of the cooperating Co-Defendants and witnesses to explore before the jury whether the

  government had made any promises or agreements concerning charges against them, thus

  allowing defense counsel to show bias and motive and the jury to assess credibility.

       (iv)    Co-Defendant Chris Miller’s Testimony Was Not Coerced

       This Court is unpersuaded by Defendants’ argument that Co-Defendant Chris Miller’s

  testimony at trial was improperly coerced because the government erroneously informed

  him pre-trial that he was facing a charge that carried a fifteen to twenty-year statutory

  maximum term of imprisonment and Miller learned during trial that he was facing a charge

  that carried a three-year statutory maximum. (Trial Tr. Vol. 13, Miller at 5, 60-64, 80-81.)

  Defendants’ argument ignores that statutory maximums set the upward limit on sentences

  but the range set by the Sentencing Guidelines is a critical factor in sentencing. More

  importantly, Defendants’ argument ignores Chris Miller’s testimony that he voluntarily

  cooperated with the FBI, admitted his own criminal acts, gave statements about HMC

  criminal activity, returned to Michigan to testify at trial, and testified despite confusion about

  the charges and possible sentence he faced. (Id. at 13-14, 36-38.)

       (v) No Need to Re-litigate Government’s Motion in Limine Re: Daniel Sanchez

       Defendants seek to re-litigate this Court’s decision to grant the government’s pre-trial



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  motion in limine concerning Co-Defendant Daniel Sanchez. Defendants argue that the

  Court improperly shielded cooperating Defendant Daniel Sanchez from cross-examination

  regarding his admitted participation in a murder at a HMC Detroit clubhouse and the

  subsequent arson of the clubhouse in an attempt to conceal that murder. For the reasons

  stated here, the Court rejects Defendants’ argument that there is a need to revisit this

  issue.

       On March 17, 2010, the government gave notice to Defendants that Daniel Sanchez

  would be called as a witness and provided them with a copy of the FBI 302 from Sanchez’s

  November 2007 debriefing. The details regarding the murder were redacted since it is still

  an open investigation. The government did provide the following notice concerning the

  redacted portion of the report:

       During a Kastigar debriefing in November 2007, Daniel Sanchez admitted to
       participating in a murder at the Highwaymen Detroit Clubhouse and the
       subsequent arson of that Clubhouse in an attempt to conceal that murder. He
       implicated Anthony Clark and Leonard “Dad” Moore in the murder and
       subsequent arson. The government will not be seeking to elicit any of this
       information from Sanchez during his testimony and will object to its introduction
       during cross-examination of Sanchez.

  (Gov’t Suppl. Resp. at 2.)

       The government then filed a motion in limine on April 3, 2010 [Docket No. 1392],

  asking the Court to restrict the defense’s cross-examination about this murder under

  Federal Rule of Evidence 608(b). At the April 6, 2010 hearing on the motion, Defendants

  Nagi, Ball, Cicchetti, and Whiting opposed the government’s motion. Defendants Dad

  Moore and Clark joined in the government’s motion. The Court held that evidence

  concerning this murder was excludable under Rule 608(b) and found the Second Circuit’s

  ruling in United States v. Flaharty, 295 F.3d 182, 190-91 (2d Cir. 2002), to be directly on

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  point. The Court’s ruling was reaffirmed during Daniel Sanchez’s testimony when a

  bystander, the mother of a victim allegedly killed by HMC members, ran from the courtroom

  after shouting, “They killed my son. He killed my son.” (Trial Tr. Vol. 18 at 14-22; Vol. 19

  at 1-16.) The mother was brought back into the courtroom and questioned outside the

  presence of the jury. She testified that Defendant Whiting spoke to her niece, Co-

  Defendant Delilah Whitehouse, to let her know that Sanchez was getting immunity for her

  son’s murder and would be in court that day. The Court instructed the jury to disregard this

  woman’s outburst.

       Ladies and gentlemen, I’m sorry about the outburst in the courtroom.
       Sometimes people get emotional for one reason or another, and that’s what
       happened here. I instruct you that you are to disregard anything that you heard
       or think you may have heard from the woman in the benches there. Obviously,
       it’s not evidence, it’s not anything that is part of this trial, and we’re going to go
       on with that excluded.

  (Trial Tr. Vol. 18 at 22.)

       Defendants’ arguments here concerning the issue of admissibility of the murder

  involving Daniel Sanchez, Dad Moore, and Anthony Clark simply restate those previously

  made and rejected by the Court. Defendants once again argue that, by precluding cross-

  examination on this murder, the Court has denied them the opportunity to test Daniel

  Sanchez’s motivation for testifying. (Id.) The Court did not find the argument persuasive

  at the earlier hearing and does not find it any more persuasive simply because it is being

  repeated. The Court reaffirms its earlier finding that the Second Circuit’s decision in

  Flaharty is directly on point. In Flaharty, the district court precluded the cross-examination

  of a government witness regarding that witness’s commission of a homicide, ruling that

  evidence of the murder did not reflect on the truthfulness or untruthfulness of the witness.


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  295 F.3d at 190-91. In affirming the conviction, the Flaharty court observed that “[u]nder

  Federal Rule of Evidence 608(b), the district court may restrict cross-examination about

  specific instances of prior conduct if it finds that the conduct is not probative of

  truthfulness,” and held that “murder generally is not a crime of dishonesty, and nothing

  about the Evans murder suggested that it would in any way reflect on [the witness]’s

  truthfulness.” Id. at 191.

       The Sixth Circuit has similarly failed to see the connection between violent crimes and

  a witness’s capacity for truthfulness or untruthfulness and has precluded cross-examination

  under Rule 608(b). See United States v. Perkins, Nos. 96-5337, 97-6452, 1999 WL

  506980, *5 (6th Cir. June 7, 1999) (holding that evidence of an armed robbery was

  inadmissible under the rules of evidence and observing that “evidence attacking a witness’s

  credibility is only admissible if it is probative of the witness’s character for truthfulness or

  untruthfulness,” that “[a]rmed robbery does not involve fraud, deceit, or the telling of a

  falsehood,” and that “[d]efense counsel offers no case in which a violent crime was allowed

  into evidence to prove untruthfulness.”). See also United States v. Thomas, 105 F. App’x

  773, 785 (6th Cir. 2004) (citing Flaharty and Perkins with approval and affirming the district

  court’s ruling that evidence of a witness’s “shootout with the police did not have any bearing

  on his character for truthfulness or dishonesty” and was thus properly excluded from trial).



       b. Government’s Proofs at Trial

       The Court now addresses Defendants’ arguments regarding the government’s proofs

  at trial, beginning with Defendants’ argument that the government, in an effort to taint the

  jury, improperly proceeded to trial on several charges that it knew it could not prove and

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  ultimately dismissed at the close of the government’s case-in-chief.

       (i) Government’s Dismissal of Some Charges Not Misconduct

       Defendants argue that the government committed misconduct by proceeding to trial

  (1) against Ball, Jr. and Cicchetti on Count 13 and related Racketeering Act 12 and Count

  14 and related Racketeering Act 13 which charged, respectively, conspiracies to murder

  Doug Burnett and Phil McDonald “knowing that these charges could not be sustained;” and

  (2) against Joseph Whiting on Racketeering Act 8 charging him with transporting and

  receiving a stolen vehicle when it knew there was no evidence that Whiting was in Myrtle

  Beach. Defendants further argue that the government committed misconduct in its opening

  statement by poisoning the minds of the jurors by portraying all six Defendants as willing

  to engage in or conspiring with others to commit violent acts, including the intended murder

  of a witness, when it knew it could not prove the conspiracy to murder charges against

  Defendants Ball Jr. and Cicchetti. (Jt. Mot. at 2-5.) The Court rejects Defendants’

  arguments that the government committed prosecutorial misconduct by knowingly

  presenting false evidence to the jury, proceeding to trial on charges that it knew it could

  not prove, or otherwise making remarks that tended to mislead the jury and prejudice

  Defendants.

       The Sixth Circuit standard for claims of prosecutorial misconduct is as follows:

          In the evaluation of a claim for prosecutorial misconduct, it is not enough that
       the prosecutor’s comments were improper, but the relevant question is whether
       the prosecutors’ [sic] comments so infected the trial with unfairness as to make
       the resulting conviction a denial of due process. In other words, in order to
       satisfy the standard for prosecutorial misconduct, the conduct must be both
       improper and flagrant.

  Goff v. Bagley, 601 F.3d 445, 480 (6th Cir. 2010) (internal quotation marks and citations


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  omitted). When determining whether improper conduct is flagrant, the court considers the

  following four factors:

       (1) the likelihood that the remarks of the prosecutor tended to mislead the jury
       or prejudice the defendant; (2) whether the remarks were isolated or extensive;
       (3) whether the remarks were deliberately or accidentally made; and (4) the total
       strength of the evidence against the defendant.

  Id. (quoting Bates v. Bell, 402 F.3d 635, 641 (6th Cir. 2005)). Defendants have not met this

  standard.

       Defendants have not shown that it was improper for the government to proceed to trial

  on the challenged charges or to refer to them in its opening statement. The government

  had (and timely produced to Defendants) statements from witnesses like Chris Miller,

  Robert Burton, John Barnett, and Michael Toney, who provided information about HMC

  attempts to find and kill both Doug Burnett and Phil McDonald. Michael Toney had brain

  surgery prior to trial, and John Barnett suffered a stroke. Several months before trial, these

  two witnesses, their attorneys, and the government stipulated that competency evaluations

  were in order. The government anticipated that these evaluations would be completed

  early enough to allow Barnett and Toney to testify at trial. That did not occur.

       As to witnesses Miller and Burton, the government responds that it proceeded to trial

  anticipating that they would repeat what was said during their interviews about the attempts

  to find and kill Doug Burnett and Phil McDonald. That did not occur. The government

  made no effort to lead them, to coerce them during recesses, or otherwise “prompt” their

  testimony. Rather, the government let the testimony come out as it did, reviewed it at the

  conclusion of its case, and acted accordingly in moving to dismiss certain charges against

  certain Defendants prior to the case being submitted to the jury.


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        The government further responds that it also proceeded to trial with the challenged

  charges because it believed it had enough circumstantial evidence from other HMC

  members to do so. All HMC witnesses testified that snitches were not tolerated. (e.g., Trial

  Tr. Vol. 12, C. Miller at 34-43, 51-52.) Many of the telephone calls and search warrant

  exhibits detail HMC efforts to locate informants. Chris Miller testified that he was warned

  that if he was a snitch, he’d “wind up in a dumpster.” (Trial Tr. Vol. 12, C. Miller at 48-49.)

  Daniel Sanchez testified that there was zero tolerance for snitches in the HMC and that

  punishment could range from being kicked out of the HMC to being killed. (Trial Tr. Vol.

  18, Sanchez at 58, 62-63.)

        The government’s challenged conduct cannot be characterized as improper or flagrant

  and thus does not constitute prosecutorial misconduct. The same is true with regard to the

  government’s conduct in proceeding to trial and presenting evidence against Defendant

  Whiting on RICO Count I and alleging in Racketeering Act 8 that Defendant Whiting had

  received a motorcycle stolen from South Carolina: charges on which the jury found him

  guilty.

        (ii) Government Did Not Improperly Introduce Uncharged Conduct Evidence

        Defendants also argue that there was prosecutorial misconduct because the

  government improperly introduced uncharged conduct evidence, i.e., unlicensed, on-

  premises gambling and alcohol sales at the HMC clubhouses, and further argue that this

  constituted substantial error, which was further increased by the outburst from a courtroom

  spectator during Daniel Sanchez’s testimony. (Jt. Mot. at 3-4.) Defendants’ arguments are

  not persuasive. First, as discussed above, the spectator outburst was, according to her

  testimony, instigated by Defendant Whiting; not the government. Second, evidence about

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  uncharged acts, like the unlicensed gambling and alcohol sales at issue here, is

  permissible to show the existence, scope, and nature of the enterprise in a RICO case.

  See United States v. Matera, 489 F.3d 115, 120 (2d Cir. 2007) (observing that evidence

  of uncharged murders is admissible “to prove an essential element of the RICO crimes

  charged – the existence of a criminal enterprise in which the defendants participated”);

  United States v. Baez, 349 F.3d 90, 93 (2d Cir. 2003) (observing that “[i]t is well settled that

  in prosecutions for racketeering offenses, the government may introduce evidence of

  uncharged offenses to establish the existence of the criminal enterprise.”).               The

  government similarly introduced evidence of uncharged acts to establish the existence of

  a criminal enterprise in a RICO case. Accordingly, there is no prosecutorial misconduct or

  substantial error.

       3. Conclusion

       For the above-stated reasons, Defendants have not satisfied their Rule 33 burden of

  establishing the need for a new trial.

       The Court now addresses Defendants’ Rule 29 arguments for acquittal.

       B. Rule 29 Motions for Acquittal

           Defendants next challenge the sufficiency of the evidence of their convictions

  under Federal Rule of Criminal Procedure 29. The Court begins with the standard of

  review, then addresses Defendants’ shared arguments, and finally their individual

  arguments.

           1. Standard of Review

               “Evidence is sufficient to sustain a conviction if after viewing the evidence in



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  the light most favorable to the prosecution, and after giving the government the benefit of

  all inferences that could reasonably be drawn from the testimony, any rational trier of fact

  could find the elements of the crime beyond a reasonable doubt.” United States v. Driver,

  535 F.3d 424, 428-29 (6th Cir.) (internal quotation marks and citations omitted, emphasis

  in original), cert. denied, 129 S. Ct. 662 (2008). “In examining claims of insufficient

  evidence, this court does not weigh the evidence presented, consider the credibility of

  witnesses, or substitute [its] judgment for that of the jury.” Id. (internal quotation marks and

  citation omitted).

       2. No Variance Between the Indictment and Trial Evidence

       In their Joint Motion, Defendants argue that the Court allowed the government a

  prejudicial variance from the Second Superseding Indictment because the Indictment

  charged one large racketeering conspiracy but the government’s trial evidence proved only

  several separate drug conspiracies involving HMC members.1 Specifically, Defendants

  argue that the government failed to tie the drug conspiracies charged in Racketeering Acts

  9, 10, and 11 to the RICO enterprise identified in Count 1 of the Indictment charging a

  substantive RICO violation.       This joint argument challenges the sufficiency of the




         1
            To the extent Defendants are arguing there was insufficient proof to establish a
  RICO enterprise, that argument is rejected. There was substantial evidence submitted at
  trial establishing this element of the RICO charge. Moreover, as the Court instructed the
  jury, it is not illegal in and of itself to be a member or associate of the HMC. Nonetheless,
  there was sufficient evidence at trial establishing that a large number of the Detroit area
  HMC members had associated together and formed an on-going organization whose
  members functioned as a continuing unit for the common purpose of achieving the
  objectives of the enterprise. In short, the evidence showed that the enterprise was a
  criminal organization that evolved out of the HMC; it was not the HMC.

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  government’s proofs at trial and is thus analyzed under Rule 29.2

       Count I of the Indictment charged a substantive RICO violation and included

  Racketeering Acts involving three separate drug conspiracies. These Racketeering Acts

  were incorporated into Count 2 – the RICO conspiracy count. Contrary to Defendants’

  arguments here, evidence at trial was sufficient to show that the drug trafficking activity in

  Racketeering Act 9 (evidence regarding the Robert Burton drug conspiracy), Racketeering

  Act 10 (evidence regarding the Jeffrey Miner/Phil McDonald steroid drug conspiracy),3 and

  Racketeering Act 11 (evidence regarding the Aref Nagi drug conspiracy) was related to and

  an integral part of the HMC enterprise and its activities.

       For example, ample trial evidence exits showing that members of the HMC sold to or

  distributed/shared drugs with other members. (See, e.g., Trial Tr. Vol. 18, D. Sanchez at

  27-30, 32-33.) The record is replete with testimony about HMC members sharing cocaine

  with Defendants (e.g., references to “Scooby Snacks,” “Scooby Meals,” and “Dad Packs”).


         2
          As explained by the Sixth Circuit, “[a] variance [to the indictment] occurs when the
  charging terms [of the indictment] are unchanged, but the evidence at trial proves facts
  materially different from those alleged in the indictment.” United States v. Solorio, 337 F.3d
  580, 589 (6th Cir. 2003) (internal quotation marks and citation omitted). “A variance will not
  constitute reversible error unless substantive rights of the defendant have been affected,”
  and “a substantive right of the defendant is violated by a variance only when a defendant
  proves prejudice to his ability to defend himself or to the overall fairness of the trial.” Id. at
  590 (internal quotation marks and citations omitted).

          Just as in Solorio, Defendants here have not shown a prejudicial variance because
  “[t]he facts adduced at trial were not materially different from those alleged in the
  indictment.” Id. As the Solorio court observed, “[t]he concept of variance is designed to
  prevent the prosecution from convicting the defendant of a different offense, not a lesser
  variation on the charged offense.” Id. Defendants have not shown that they were
  convicted of different offenses than the ones charged in the Second Superseding
  Indictment.
         3
             Trial Tr. Vol. 19, McDonald at 33.

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  There is abundant evidence that the HMC condoned drug trafficking and drug use despite

  language to the contrary in its constitution. It was a common occurrence to have drug

  deals and drug use at the HMC clubhouse. The HMC leaders like godfather Dad Moore

  and National President Whiting did not stop it. Rather, they freely shared the cocaine

  distributed inside the clubhouse. (See, e.g., Trial Tr. Vol. 7, Burton at 76; Vol. 19, D.

  Sanchez at 82-83; Vol. 18, D. Sanchez at 37, 42-44, 46-55.) Witnesses also testified that

  other present and past HMC officers, committee members, and honoraries, like Defendants

  Clark, Cicchetti, Nagi, and Ball Jr., shared the cocaine that they frequently distributed to

  each other as well as that provided by other HMC members who dealt drugs at the

  clubhouse. There was also evidence that HMC leaders used other HMC members for

  protection, to collect drug debts, and to assault people who “stiffed” them on drug deals.

  Thus, there was ample evidence that HMC officers, members and associates used the

  HMC clubhouses to facilitate the sale and distribution of controlled substances. All of this

  was alleged in the Indictment and proven at trial. There was no variance.

       Moreover, evidence was presented showing that drug sales were the primary source

  of income for many of the HMC members. It was thus reasonable for the jury to infer that

  drug proceeds were used to pay HMC club dues, taxes, fees, penalties, club expenses, and

  to fund a bail/legal defense fund. In fact, Doug Burnett testified that he did just that – he

  used his drug proceeds to pay his HMC club dues. (Trial Tr. Vol. 5, D. Burnett at 74-75.)

  Accordingly, similar to the observation the Sixth Circuit made in United States v. Lawson,

  535 F.3d 434, 445 (6th Cir. 2008), when a considering a RICO conspiracy charge against

  a member of the Outlaws motorcycle club, “[o]ne can infer from that evidence that [the

  HMC] facilitated such endeavors so that the profits could be used to finance the [HMC]’s

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  activities.” Id.

       3. Individual Rule 29 Arguments

            a. Defendant Clark

               Defendant Anthony Clark was convicted on the RICO conspiracy count (Count

  2 of the Indictment). His Rule 29 motion argues that there is insufficient evidence to prove

  that he agreed that someone would commit two of the Racketeering Acts alleged in Count

  1 of the Indictment.

       “To prove a RICO conspiracy charge, it is not necessary to show that the defendant

  committed two predicate acts himself or agreed to commit two predicate acts himself.”

  United States v. Driver, 535 F.3d at 432. Rather, a “RICO conspiracy conviction can be

  sustained if there is evidence sufficient to prove that [the defendant] agreed that someone

  would commit two predicate acts.” Id.

       First, as an initial matter, the Court rejects Clark’s argument that his acquittal on Count

  1, Racketeering Acts 6 and 9, and Count 17 compels the conclusion that no reasonable jury

  could find that he committed the predicate drug conspiracy acts (Racketeering Acts 9, 10,

  and 11). See United States v. Harris, No. 07-10143-JTM, 2009 WL 4059388, *8 (D. Kan.

  Nov. 20, 2009) (rejecting a similar argument, quoting an Eleventh Circuit decision, United

  States v. Russo, 796 F.2d 1443, 1462 (11th Cir. 1986), which held that “the jury could

  have found that [the defendant] agreed to participate in the enterprise through the

  commission of two predicate acts without finding that he actually committed the two

  predicate acts.”).

       Second, despite Clark’s arguments to the contrary, there is sufficient evidence to tie

  him to the drug conspiracies alleged in Racketeering Acts 9 and 11. There is sufficient trial

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  evidence to show that Clark conspired with Daniel Sanchez and others to purchase cocaine

  and provided that cocaine to other HMC members, sometimes for their own use (e.g.,

  Whiting) but more often to sell/distribute to the general public (e.g., D. Sanchez and BJ) –

  the predicate act alleged in Racketeering Act 9.4 (Trial Tr. Vol. 18, Sanchez at 27-30, 32-

  33, 42; Vol. 7, Burton at 82-83, 85-86; Vol 13, G. Peters at 13; Vol. 20, McDonald at 108-

  09, 118-19; Gov’t Ex. 12.) From this, it can be inferred that Clark had entered into an

  agreement with others to violate RICO by conspiring to distribute cocaine (Racketeering

  Act 9).        See United States v. Lawson, 535 F.3d at 445 (observing, under similar

  circumstances, that even absent direct evidence, an “agreement [to violate RICO] can be

  inferred from [the defendant’s] acts.”).

          The same is true of Racketeering Act 11. Evidence that Nagi and Ball, who are

  named in the drug conspiracy described in Racketeering Act 11,5 shared drugs with the


           4
               Racketeering Act Nine (Conspiracy to Distribute Cocaine) alleges that:

           In or about 2000 through in or about 2007, in the Eastern District of Michigan,
           defendant Anthony Clark, and others, did knowingly, intentionally, and
           unlawfully combine, conspire, confederate, and agree to commit an offense
           against the United States, that is, to distribute more than five kilograms of
           cocaine, a Schedule II controlled substance; in violation of Title 21, United
           States Code, Sections 841(a)(1) and 846.

  Second Superseding Indictment, Count One.
           5
               Racketeering Act Eleven (Conspiracy to Distribute Controlled Substances) alleges
  that:

           From in or about 2004 through the date of this indictment, in the Eastern
           District of Michigan, defendants Aref Nagi, Gary Ball Jr., and others, did
           knowingly, intentionally, and unlawfully combine, conspire, confederate, and
           agree with each other to commit offenses against the United States, that is,
           to distribute more than five kilograms of cocaine, as well as marijuana,
           Vicoden, Viagra, Ecstacy, and other controlled substances; in violation of

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  leadership of the HMC at HMC clubhouses, that Clark held leadership positions in the

  HMC during the time of the alleged conspiracy, and that the leadership condoned and

  never condemned the drugs use/sales/distribution in the HMC clubhouse is sufficient to

  allow a reasonable jury to infer that Clark had implicitly agreed that Nagi or Ball Jr. would

  conspire with others to distribute controlled substances – Racketeering Act 11. (Trial Tr.

  Vol. 7, B. Burton at 85-91; Vol. 17, N. Sanchez at 14, 17; Vol. 18, D. Sanchez at 37; Vol.

  13, C. Miller at 66-67.) Similar to Lawson, the evidence presented in this case shows that

  when Clark served in various leadership roles, i.e., as national president, chapter president,

  an honorary, or committee member, the HMC “was an organization that encouraged its

  members to engage in the drug trade.” Lawson, 535 F.3d at 445. During the period of time

  alleged in Racketeering Act 11, Defendant Clark attempted to purchase cocaine and

  brought his workers to the HMC Clubhouse so they could purchase cocaine – acts from

  which a reasonable jury could infer that Clark agreed that Nagi, Ball Jr. and others would

  distribute controlled substances. (Trial Tr. Vol. 5, D. Burnett at 89-90; Vol. 6, D. Burnett at

  7.) As the Sixth Circuit recently observed in Driver, “[p]roof of a formal agreement is not

  required to establish a conspiracy; a tacit or material understanding among the parties is

  sufficient.” Driver, 535 F.3d at 429 (internal quotation marks and citations omitted). A

  “RICO conspiracy conviction can be sustained if there is evidence sufficient to prove that

  [the defendant] agreed that someone would commit two predicate acts.” Id. at 432.

       b. Defendant Dad Moore



         Title 21, United States Code, Sections 841(a)(1), and 846.

  Second Superseding Indictment, Count One.

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           Defendant Leonard “Dad” Moore was convicted on the RICO conspiracy count

  (Count 2 of the Indictment). His Rule 29 motion argues that there is insufficient evidence

  to prove that he agreed that someone would commit two of the Racketeering Acts alleged

  in Count 1 of the Indictment. This Court disagrees.

       First, numerous witnesses testified that Dad Moore was the “godfather” of the HMC,

  was in the top leadership position, was a member of the “committee” that governed HMC

  activities, and was keenly aware of and had a large say in the affairs of the HMC

  enterprise. (e.g.,Trial Tr. Vol. 13, Peters at 100-05; Vol. 18, Sanchez at 11-12; Vol. 7, B.

  Burton at 70-71; Vol. 5, D. Burnett at 64-65, 67.)

       Second, there is abundant testimony that Dad Moore was not only aware of but

  frequently shared the cocaine that was distributed to him by HMC members involved in the

  drug conspiracies alleged in Racketeering Acts 9 and 11, i.e., Clark, Daniel Sanchez,

  Bobby Burton, Nagi, and Ball Jr. Despite being looked to as the “godfather” of the HMC,

  Dad Moore never condemned the sale, distribution, or use of cocaine in the HMC

  clubhouse. Rather, he facilitated the drug conspiracies alleged in Racketeering Acts 9 and

  11 by frequently using the drugs that were commonplace in the HMC clubhouse and

  distributed to him by Bobby Burton, Ball Jr., Whiting, Cicchetti, and Clark among others.

  In fact, Nat Sanchez testified that whenever he got ready to go to the Detroit clubhouse,

  he would get his cocaine ready to sell by bagging and packing it up, but he “kept an extra

  pack,” that he “was going to give away” that he called “a Dad Pack because [Sanchez]

  would give [Dad Moore] most of it, you know, just to stay on his good side.” (Trial Tr. Vol.

  17, N. Sanchez at 16.) (See also, Trial Tr. Vo. 7, B. Burton at 76, 80, 85-91, 99; Vol. 17,

  N. Sanchez at 14-16, Vol. 5, D. Burnett at 82-83; Vol. 12, C. Miller at 11-16; Vol. 13, G.

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  Peters at 109-110,133-34.)

       c. Defendant Whiting

           Defendant Whiting argues that there is insufficient evidence to convict him on all

  charges involving the conspiracy to murder Doug Burnett and the charges involving his

  receipt of a stolen vehicle; i.e., Count 1 - Racketeering Act 8 (stolen motorcycles from

  Myrtle Beach) and Racketeering Act 12 (Doug Burnett), Count 2 - RICO conspiracy, Count

  13 (Doug Burnett), and Count 47 (receipt of stolen motorcycle).

       Specifically, as to the charges involving a conspiracy to murder Doug Burnett, Whiting

  argues that the government failed to prove the existence of a conspiracy or any intent to

  kill, did not meet its burden in refuting Whiting’s entrapment argument, created a prejudicial

  variance between the murder conspiracy charged in the Indictment and the government’s

  proofs at trial by arguing that a conspiracy existed between Whiting and Anthony

  Viramontez of the Latin Counts, and violated Brady and the Jencks Act, 18 U.S.C. § 3500

  by not providing Defendants with a FBI 302 report and internal Threat Assessment Report

  from the Viramontez criminal matter until after the government rested its case-in-chief on

  May 20, 2010.

       As to the charges involving Whiting’s receipt of a stolen motorcycle, Whiting argues

  that the government presented insufficient evidence that the motorcycle Phil McDonald

  testified that Whiting showed him was one of the motorcycles stolen from Myrtle Beach,

  South Carolina and transported to Michigan and that Whiting received a stolen motorcycle

  that had a motor and was not merely a bike frame. This Court disagrees with Whiting on

  each of these arguments.

       First, applying the Rule 29 standard, there was sufficient evidence that a conspiracy

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  existed to murder Doug Burnett, that the conspiracy existed between Anthony Viramontez

  and Whiting, that there was an intent to kill Doug Burnett, and Whiting was not entrapped.

  The jury heard, multiple times, an August 16, 2006 recorded conversation between

  government informant Phil McDonald and Whiting. Mr. McDonald testified about this

  conversation and was extensively cross-examined about it. Agent Brzezinski was also

  subjected to extensive cross-examination on this topic. There was evidence that, prior to

  the August 16, 2006 conversation, both Anthony Viramontez and Whiting (along with other

  HMC members) strongly suspected that Doug Burnett was a snitch. Viramontez told

  McDonald about his suspicions about Burnett, told him that Doug Burnett had to go and

  would not be around to testify at any Viramontez trial, and confided that, because Burnett

  was a member of the HMC and Viramontez and the Latin Counts did not want to provoke

  a battle between the HMC and the Latin Counts, Viramontez wanted McDonald to talk to

  Whiting about taking care of Doug Burnett and to see if Viramontez could find and kill Doug

  or if the HMC wanted to take care of it. (Trial Tr. Vol. 20, McDonald at 4-6, 30, 62-70, 85.)

       Q: That was Government Exhibit 98. . . . Now, that occurred on August 16,
       2006, is that correct?

       A: Yes.

       Q: Prior to that conversation with Mr. Whiting, had you had any conversations
       with Mr. Viramontez about the potential snitch?

       A: Yes.

       Q: And who had he identified as a snitch?

       A: Doug Burnett.

       Q: And did he tell you what his plans were for Doug?

       A: Yeah, he had, you know, he had talked to me about us and the club either

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       getting rid of him, or he was going to do it if he seen him, but he wanted me to
       talk to Joe about it. Then he changed his mind, and then he said do it again, but
       he definitely wanted Dougie found and gone.

       Q: And when you say gone, what was Mr. Viramontez taking about being gone?

       A: Killed.

       Q: Why did Mr. Viramontez want you to go to Joe Whiting about that?

       A: Because Joe was the national boss.

       Q: And why is that important?

       A: Well, so you don’t step on nobody’s toes.

       Q: And what would happen if it was perceived that, you know, someone’s toes were
  being stepped on?

       A: Could potentially put a war between Latin Counts and Highwaymen.

  (Trial Tr. Vol. 20, McDonald at 4-5.)6

       A reasonable jury could infer from both the recorded conversation between McDonald

  and Whiting (Gov’t Ex. 98) and McDonald’s testimony that Whiting gave Viramontez the

  okay to kill Doug Burnett and also told the HMC members that if anyone found Doug

  Burnett, he was to be killed.

       Q: We heard reference during the recording to not – make sure he’s not wearing
       his club shit. What did that mean?

       A: Well, if Tony and them got to him first, that way it didn’t look like he was a
       Highwaymen or, you know, if they said that Latin Counts did it, it didn’t look like
       there was any issue against Highwaymen, Latin Counts.

       Q: After this conversation with Joe on August 16, 2006, did you have other
       conversations with Joe about Doug Burnett?


         6
        This testimony directly contradicts Defendant Whiting’s argument that the
  government concocted the conspiracy between Whiting and Viramontez without
  Viramontez ever suggesting that Whiting be involved.

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       A: Yes.

       Q: What else did Joe tell you concerning Doug Burnett?

       A: That he was nowhere to be found and, you know, he needed to go if anybody
       found him.

       Q: Did Joe Whiting put anything out at any of the meetings concerning what the
       Highwaymen were supposed to be doing in regard to Doug Burnett?

       A: Yeah, everybody look for him, anybody finds him, get his ass.

                                             ***

       A: Anybody finds him, get him, kill him.

       Q: Based upon your experience in the club and your conversations with Joe
       Whiting, if they would have found Doug Burnett, what would have happened to
       him that summer?

                                             ***

       A: He would have been killed.

  (Id. at 5-6.) McDonald testified that, before this August 16, 2006 conversation, Whiting and

  other HMC members suspected that Doug Burnett was an informant or snitch and wanted

  to kill him. (Id. at 30, 66, 70, 85.) He also testified that he “didn’t make [Whiting] say it’s

  okay to kill Doug,” (id. at 78); rather, he was telling Whiting what Viramontez had said about

  Doug being a snitch and Whiting responded basically that he did not care if Viramontez got

  rid of Doug Burnett. (Id. at 80.) This evidence is sufficient to refute Whiting’s entrapment

  defense.

       Defendant Whiting also argues that (1) the government created a prejudicial variance

  by submitting proofs at trial about a conspiracy to murder Doug Burnett that involved

  Whiting and Anthony Viramontez of the Latin Counts; and (2) the government violated

  Brady and the Jencks Act by failing to provide a FBI 302 report and an internal Threat

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  Assessment Report about Doug Burnett generated in the Viramontez criminal matter until

  after the government rested its case-in-chief. The Court first examines Whiting’s variance

  claims.

       There is no variance. Racketeering Act 12 of Count 1 in the Second Superseding

  Indictment and the Redacted Indictment submitted to the jury without any defense

  objections alleges that Whiting and “others” conspired to murder Doug Burnett. This is

  sufficient to include the proofs at trial that Whiting conspired with Anthony Viramontez to

  murder Doug Burnett.

       As to Count 13, Whiting raised an argument for the first time at the September 7, 2010

  motion hearing. Specifically, Whiting argued that, although Count 13 of the Redacted

  Indictment contained the “and others” language reflected in Racketeering Act 12 of Count

  1, the language in the Second Superseding Indictment did not and thus created a

  prejudicial variance between the Second Superseding Indictment and the government’s

  proofs at trial. The government responded by arguing that failure to include the “and other”

  language in the Indictment did not create a prejudicial variance, offered to provide case law

  supporting that argument, and has provided a supplemental memorandum on the issue

  [1572]. This Court finds the government’s argument persuasive. There is no variance.

       In United States v. Pingleton, 216 F. App’x 526 (6th Cir. 2007), the Sixth Circuit Court

  of Appeals addressed an issue similar to the one presented here. There, the indictment

  charged two specific individuals with agreeing to commit a drug offense, but the proofs at

  trial identified a third individual not named in the indictment. Similar to here, the indictment

  did not contain the language “and others known and unknown.” Id. at 259. The defendant

  argued that “when the district court allowed the government to introduce evidence of a

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  conspiracy involving other persons, this was an impermissible ‘constructive amendment’

  of the indictment.” Id. at 258-59. The Pingleton court held that, although the lack of the

  “and others” language was atypical and should not be done in future indictments, “under

  the circumstances of this case,” there was no variance or constructive amendment of the

  indictment and “the indictment should be read to charge a conspiracy involving two or more

  persons.” Id. at 259 (emphasis in original). The circumstances that the Sixth Circuit relied

  upon to justify the result in Pingleton are also present here, i.e., (1) the government had

  provided the defendant “with discovery evidence indicating that the charged conspiracy was

  not limited to him and [the individual named in the indictment],” id., (2) the defendant had

  “notice that the charged conspiracy included co-conspirators beyond [the individual named

  in the indictment],” id., and (3) “not to construe this indictment to charge a conspiracy

  involving two or more persons might create tension with the general rule that the

  prosecution need not furnish co-conspirators’ names as long as the defendant had notice

  of the conspiracy with which he is charged.” Id.

       In this case, the government provided notice to Defendant Whiting that Anthony

  Viramontez was part of the conspiracy to murder witness Doug Burnett. As pointed out at

  the motion hearing and evidenced in the government’s exhibit to its supplemental response,

  testimony regarding the conspiracy to kill Doug Burnett, Viramontez, and Whiting was

  elicited at a May 2009 detention hearing in this criminal matter in which Whiting’s counsel

  was present and cross-examined Agent Brzezinski. (9/8/10 Suppl. Resp., Ex. 2, 5/28/09

  Det. Hrg. Tr. at 65-79.) In addition, on July 2, 2009, well in advance of trial, Defendant

  Whiting was provided extensive discovery materials. These materials included at least 32

  FBI “SOI” or source of information reports in which Viramontez was mentioned and

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  specifically referenced the July 27, 2006 FBI 302 report that involved the conspiracy to kill

  Doug Burnett. (9/8/10 Suppl. Resp., Ex. 3, Discovery Index.) Moreover, although Count

  13 of the Second Superseding Indictment did not contain “or others” language, the related

  Racketeering Act 12 in Count 1 did. Finally, as the Sixth Circuit observed in Pingleton, “not

  to construe this indictment to charge a conspiracy” involving others “might create tension

  with the general rule that the prosecution need not furnish co-conspirators’ names as long

  as the defendant has notice of the conspiracy with which he is charged.” Pingleton, 216

  F. App’x at 529. For all these reasons, there is no variance requiring acquittal.

       Likewise, there is no Brady or Jencks Act violation. This issue was fully litigated on

  May 20, 2010.      (Trial Tr. Vol. 25.)   After hearing from Whiting’s counsel and the

  government, the Court ruled as follows:

       Defense may recall Agent Brzezinski for any additional cross examination you
       feel is necessary with respect to this. I’m satisfied based on the 302 that the
       information was provided to the FBI on July 27, 2006. That’s the date of the
       investigation as the 302 confirms the date of the conversation with Mr.
       McDonald, and I do not believe it necessary to recall Mr. McDonald.

                                             ***

       I understand your argument, that if you had this information you would have
       gone into more with Mr. McDonald about it when he was on the stand, but he’s
       not available to bring back at this time, and frankly, given the self-authenticating
       nature of the 302 that was provided to counsel as part of the discovery in this
       case, I don’t think it’s necessary to recall Mr. McDonald.

                                             ***

       Let me just say again for the record, the 302 indicating when the FBI had contact
       with Mr. McDonald and Mr. McDonald provided the information about the
       Viramontez threat was provided as part of the discovery in this case, so defense
       did have the time sequencing provided, but the only thing that was not provided
       was the information in the threat assessment that was provided this morning
       which stated that Mr. Viramontez had gone out looking for Doug Burnett. In
       terms of the time sequencing, that was in fact provided. I’m not saying that the

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       government shouldn’t have provided the additional paragraph that they provided
       this morning concerning Mr. Viramontez going out looking for Mr. Burnett. I
       believe that was inadvertent since the other information from the threat
       assessment was provided, but given this new paragraph that you had this
       morning, I certainly think it’s appropriate to recall Agent Brzezinski and give you
       the opportunity to cross examine him on it.

  (Trial Tr. Vol. 25 at 14-16.)

       Whiting’s counsel then cross-examined Agent Brzezinski. Agent Brzezinski confirmed

  that on July 27, 2006, Phil McDonald informed the FBI that Viramontez told him that he

  believed Doug Burnett was the snitch, that he wanted to kill him, but was not going to do

  so because he didn’t want a war with the Highwaymen. He also confirmed that on August

  3, 2006, he prepared a threat assessment report for the Viramontez file stating that

  Viramontez told McDonald that he had some guys follow Dougie Burnett to find out where

  he lived. Agent Brzezinski further testified that once Whiting, the National President of the

  HMC, gave the go ahead on August 16, 2006, the threat on Doug Burnett’s life became

  more serious because there was no longer any concern about a war with the Highwaymen

  if Viramontez killed Doug. (Id. at 18-28.)

       As shown above, this Brady/Jencks Act issue was previously addressed, and there

  is no need to re-litigate it.

       The Court also rejects Whiting’s argument that there is insufficient evidence to support

  his conviction for receipt of a motorcycle that had been stolen from South Carolina and

  transported to Michigan. Phil McDonald testified that, on August 16, 2006, Whiting showed

  him his motorcycle, and McDonald knew that this was a motorcycle that was stolen from

  Myrtle Beach, South Carolina. Whiting was working on the bike and told McDonald that

  once he was done working on the motor he’d bring it out. (Trial Tr. Vol. 20, McDonald at


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  6, 8, 60-61, 87-95; Gov’t Ex. 98, 8/16/06 wire-tap.) When asked why McDonald believed

  this was a stolen bike from Myrtle Beach, he testified that:

       A: Well, it didn’t have a motor in it, and as you heard Joe talk about, when he
       got that done, he’d bring it out. And that’s what they do, they take the cases
       apart and put new ones on, and new MSO’s.

       Q: That could be done with any stolen bike, right?

                                               ***

       A: Yes.

       Q: So my question to you is how did you know that that bike that you saw was
       a stolen bike from Myrtle Beach and not from anywhere else?

       A: Certain it was.

                                               ***

       Q: How could you tell that it was not from Toledo, Ohio rather than from Myrtle
       Beach?

       A: Because I knew they had just stolen a bunch of motorcycles from down
       there.

  (Id. at 91-92, 94.) A reasonable jury could infer from this testimony and other testimony

  introduced about HMC members stealing motorcycles from Myrtle Beach that Whiting

  received a stolen motorcycle and was working on it when he showed it to McDonald.

       d. Defendant Ball, Jr.

       In his Rule 29 motion, Defendant Ball Jr. argues that the drug conspiracies alleged in

  Counts 19 and 20 of the Indictment were multiplicitous and thus his conviction on one of

  the Counts must be set aside or merged with the other. Ball Jr. further argues that there

  is insufficient evidence for the jury to find as it did that he distributed over five kilograms of

  cocaine. The government responds that (1) Counts 19 and 20 are merged for sentencing


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  purposes, but other than that they are two separate and distinct charges; and (2) there is

  sufficient evidence for a reasonable jury to find that Ball Jr. distributed over five kilograms

  of cocaine. The Court addresses the multiplicity argument first.

       Count 19 of the Indictment charges Ball Jr. with conspiracy to possess with intent to

  distribute, and distribution of controlled substances in violation of 21 U.S.C. § 846.

  Specifically, it alleges that from about 2004 through the date of the Indictment, Defendants

  Aref Nagi, Michael Cicchetti, Gary Ball Jr., and others, conspired “to possess with intent to

  distribute, and to distribute, controlled substances, to include over five kilograms of

  cocaine;” in violation of 21 U.S.C. § 841(a)(1). The government refers to this as “the Nagi

  drug conspiracy.”

       Count 20 of the Indictment charges Ball Jr. with conspiracy to possess with intent to

  distribute, and distribution of, cocaine in violation of 21 U.S.C. § 846. Specifically, it alleges

  that “[i]n or about May 2007 through in or about June 2007,” Defendant Gary Ball, Jr., and

  others, conspired “to possess with the intent to distribute, and to distribute, cocaine, a

  Schedule II controlled substance,” in violation of 21 U.S.C. § 846. The government refers

  to this as “the Peters/Robert Whitehouse conspiracy.”

       Defendant Ball Jr. is correct that “‘an indictment may not charge a single criminal

  offense in several counts’ without implicating multiplicity and double-jeopardy concerns.”

  United States v. Dunn, 269 F. App’x 567, 573 (6th Cir. 2008) (quoting United States v. Hart,

  70 F.3d 854, 859 (6th Cir. 1995)). That, however, is not what occurred here. As the Dunn

  court observed, “[c]harging a defendant with separate counts for different statutory criminal

  offenses does not violate the multiplicity rule.” Dunn, 269 F. App’x at 573. Even if the

  multiplicity rule were violated, Ball Jr.’s substantive rights would not be affected because,

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  as the Dunn court observed, merger of the two counts “would have no practical effect on

  [the defendant’s] sentence.” Id. at 574.

       Moreover, there was sufficient evidence to convict Ball Jr. on each. First, as to Count

  20, Gerald Peters testified that he set up a cocaine deal between Ball Jr. and Robert

  Whitehouse. (Trial Tr. Vol. 13 at 132-33; 6/14/07 search warrant for Robert Whitehouse’s

  residence.) Second, as to Count 19, there was sufficient evidence for a reasonable jury

  to find that Ball Jr. distributed over five kilograms of cocaine. Chris Miller bought two eight-

  balls from Ball Jr. in February 2007, and in May 2007 saw him with about a kilo and one-

  half at his home. He also delivered a bag with about $40,000 to $60,000 in it from Nagi and

  delivered it to Ball Jr. at the HMC clubhouse. (Trial Tr. Vol. 12, Miller at 16-20, 22-23; Vol.

  13, Miller at 29-34, 42-48, 82-83). Lou Fitzner testified that on one occasion Ball Jr. and

  Nagi were at his house breaking down a kilogram of cocaine. (Trial Tr. Vol. 16, Fitzner at

  41-42, 64, 118-19.) Fitzner also testified that Ball Jr. distributed cocaine to Nagi and vice

  versa. (Id. at 31.) Nat Sanchez testified that every time he saw Ball Jr. he had “a nice size

  amount” of cocaine with him – about one-half ounce. (Trial Tr. Vol. 17, N. Sanchez at 17-

  18.) Bobby Burton testified that he considered Ball Jr. to be a competitor, and Ball Jr.

  distributed amounts of cocaine similar to him – about a kilogram every two weeks for six

  years. Burton also testified that he saw Ball Jr. distribute cocaine to other HMC members

  inside the clubhouse. (Trial Tr. Vol. 7, Burton at 76-79, 89, 90.)

       e. Defendants Cicchetti’s and Nagi’s Rule 29 Arguments

       Defendant Cicchetti filed a Rule 29 motion that Defendant Nagi joined in part. The

  Court will first address their joint argument that there is insufficient evidence for their

  convictions on Counts 7 and 31 of the Indictment involving the assault of Alan Kirchoff at

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  Wheat and Rye on or about December 23, 2005. Specifically, these Defendants argue that

  (1) as to Count 7, there is insufficient evidence of that Nagi and Cicchetti were inside the

  Wheat and Rye and were involved in an assault on Alan Kirchoff; and (2) as to Count 31,

  there is insufficient evidence that either Nagi or Cicchetti aided and abetted the use of a

  firearm during that assault.

       (i) Wheat and Rye Arguments

       As described below, applying the relevant Rule 29 standard of review, there is

  sufficient evidence that Nagi and Cicchetti were inside the Wheat and Rye and were

  involved in the assault on Alan Kirchoff and thus their motions as to Count 7 are denied.

  Count 31 requires more discussion.

       As observed by the Sixth Circuit, “[a] defendant may be found to have brandished a

  firearm under an aiding and abetting theory of liability.” United States v. Franklin, 415 F.3d

  537, 554 (6th Cir. 2005). “[T]o sustain a conviction under [18 U.S.C.] § 924(c) for aiding

  and abetting, the government must prove ‘that the defendant, as the accomplice,

  associated and participated in the use of the firearm in connection with the underlying . .

  . crime.’” United States v. Gardner, 488 F.3d 700, 712 (6th Cir. 2007) (quoting Franklin,

  415 F.3d at 554-55).     “The government can meet that burden by showing that the

  defendant both knew that the principal was armed and acted with the intent to assist or

  influence the commission of the underlying predicate act.” Gardner, 488 F.3d at 712.

       The government presented sufficient evidence to allow a rational jury to convict

  Defendants Nagi and Cicchetti on Count 31. Evidence was presented from which a

  reasonable jury could infer that Nagi and Cicchetti were inside the Wheat and Rye during

  the assault on Alan Kirchoff, that they knew Erick Manners possessed a gun, and that they

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  acted with the intent to assist or influence the commission of the underlying crime of assault

  with a dangerous weapon.

       Evidence presented at trial shows that on December 22, 2005, Alan Kirchoff was at

  the Trolley Stop Bar for “Power Hour” that started at 10:00 p.m. While there, Kirchoff got

  into an altercation and fight with an individual he did not know but was later informed was

  a member of the Highwaymen. (Trial Tr. Vol. 7, Kirchoff at 13-14.) Kirchoff left the Trolley

  Stop and went to the Wheat and Rye in Allen Park, Michigan and was assaulted. In his

  statement to the police, Kirchoff reported that:

       After hanging out for about half hour, a group of about ten people busted in, and
       I looked at my friends and said here they come. Immediately, I started getting
       hit from all sides, and when I came to, to look up, Erick [Manners] was standing
       there saying, do you remember me? . . . . Erick said, remember me, mother
       fucker? I got hit a couple more times and witnessed Pok-A-Dot put his gun out
       and point it at me, repeated his self, and I started running. I hopped a couple
       fences and dialed 911. During this period, after I got up – after I got up and Erick
       pointed the gun at me, I started running towards the kitchen – . . . . I started
       running towards the kitchen, and he fired off two shots in the air. Once I made
       my way into the kitchen, I heard one more shot fired. That’s when I left the
       building and ran for my life.

  (Id. at 15-16; Gov’t Ex. 229E.) Kirchoff signed his statement, which was dated December

  23, 2005 at 1:10 a.m. (Id. at 13.) Kirchoff recognized Erick Manners by his nickname of

  Pok-A-Dot and knew that he was a member of the Highwaymen. (Id. at 9-10.) He also

  testified that the mother of his child, Heather Marcetic, dated Leonard “Bo” Moore, Dad

  Moore’s son, and Kirchoff knew that Bo Moore was also a member of the Highwaymen.

  (Id. 10-11.) Kirchoff’s 911 call was played for the jury. (Id. at 38; Gov’t Ex. 229A.)

       Lou Fitzner testified that Nagi told him that Nagi, Johnny Jarrell, Erick Manners, and

  Cicchetti were inside the Wheat and Rye when Erick Manners (Pok-A-Dot) fired a couple

  shots into the ceiling. Fitzner also testified that there was no way Nagi would stay outside

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  when a confrontation was going on inside. (Trial Tr. Vol. 16, Fitzner at 44-46.) Daniel

  Sanchez testified that Pok-A-Dot (Erick Manners) was Nagi’s right-hand man. (Trial Tr. Vol.

  18 at 52.)

       Allen Park Officer Steven Samborski testified that he responded to a report of “shots

  fired” at the Wheat and Rye. (Trial Tr. Vol. 7, Samborski at 20.) As he approached the

  Wheat and Rye, he saw a black pick-up truck pull out of the Wheat and Rye parking lot at

  a high rate of speed. He followed the vehicle and observed a white male exit the vehicle

  on the driver’s side as he was approaching. Then, he saw two other males and a female

  exit the vehicle. The two males were Nagi and Cicchetti. Officer Samborski found a loaded

  Glock pistol in a snow bank in the direction the male ran. (Id. at 21-24, 34-35; Gov’t Exs

  229C (pistol) and 229D (bullets).) Nagi and Cicchetti were released without charges; the

  female driver was arrested for drunk driving. (Id. at 30.)

       Detective Sergeant Michael Falkner from the Allen Park Police Department also

  testified about his investigation of the Wheat and Rye assault on Alan Kirchoff. He

  interviewed Kirchoff on December 23, 2005, observed his injuries, and testified that he

  appeared to be sober. Alan Kirchoff identified Erick Manners or Pok-A-Dot as the individual

  who assaulted him. Det. Sgt. Falkner also went to the Wheat and Rye on December 23,

  2005, and located and removed two rounds of bullets from the ceiling of the bar in the area

  pointed out by Alan Kirchoff. It was later determined that the bullets did not come from the

  Glock recovered in the snow on December 23, 2005. Charges were never brought against

  Erick Manners because the victim did not cooperate. (Trial Tr. Vol. 7, Falkner at 37-41.)

       Along with testimony from Agent Brzezinski, the jury heard several wire-tapped phone

  conversations discussing the Wheat and Rye incident, efforts to keep Kirchoff from

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  cooperating with the police, and Nagi’s weapons. (Id., Brzezinski at 46-54; Gov’t Exs. 27,

  40, 42, 43, 44, 46, 48.)

       The incident began when Johnny Jarrell called Nagi on December 22, 2005 and told

  him to come up to the Trolley Stop because there was going to be a problem. Nagi replied

  that he had six “mother fuckers” with him and agreed to bring them all with him. (Gov’t Ex.

  42). On December 23, 2005, Nagi and Bo Moore discussed the incident. (Gov’t Ex. 43.)

  As Kirchoff testified, he knew Bo Moore because he was dating the mother of Kirchoff’s

  child, and Kirchoff knew that Bo Moore was a member of the Highwaymen. From the

  Nagi/Bo Moore call, it appears that Kirchoff visited Bo Moore after the Wheat and Rye

  incident and told him, “Your boys shot at me, they jumped me and hit me with beer bottles

  and stuff.” (Id.) Bo Moore told Kirchoff that he better not pursue charges against Erick

  Manners or he would be labeled a snitch and groups of the Highwaymen would be out

  looking for him and that he was going to get hurt bad because two or three of them might

  have “heaters.” (Id.) Nagi made several comments to Bo Moore in that conversation from

  which a reasonable jury could infer that he was inside the Wheat and Rye during the

  Kirchoff assault. When Bo Moore commented that he “would have loved to had been there

  when Pok-A-Dot started busting them caps, watching them motherfuckers screaming and

  hollering and jumping and running,” and Nagi responded, “Well he was bucking first. . . .

  He was bucking with him first. . . .      Yeah.   Then it was like, fuck, it was fuckers,

  motherfuckers come out of everywhere.” (Id.) Nagi then commented that Kirchoff couldn’t

  identify him and Cicchetti because it was dark outside and Kirchoff was sitting in the police

  car. (Id.)

       In another call on December 23, 2005, Nagi told Dennis Vanhulle, “Shit man, we had

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  a fucking thing last night at Wheat and Rye.” (Gov’t Ex. 44.) Nagi also told him that the

  police screwed up because they didn’t find one gun that was in the back of his pick-up.

  “But they fucked up man. The piece, uh, one of the pieces got thrown out, the other piece

  was in the back of the pick up, inside the snow.              They didn’t ever find it, dumb

  motherfuckers.” (Id.) Nagi said the police were looking for Jeff Pitman and he wasn’t even

  there.

       A rational jury could infer from these calls and other evidence that Nagi and Cicchetti

  were inside the Wheat and Rye during the Kirchoff assault, were not simple bystanders,

  were active participants who knew Erick Manners had a gun. Nagi responded to Jarrell’s

  initial call by agreeing to bring at least six individuals to the Trolley Stop. When Kirchoff left

  the Trolley Stop and arrived at the Wheat and Rye, he was soon confronted by at least ten

  people, including Erick Manners, who began immediately hitting him when Manners pulled

  out his gun and shot it. Nagi and Cicchetti were seen leaving the Wheat and Rye, driving

  away at a high rate of speed. When Nagi talks about the fight, he describes it as a

  participant. Lou Fitzner testified that Nagi told him that Nagi and Cicchetti were inside the

  bar during the Kirchoff assault and when Erick Manners fired off his pistol. Moreover, there

  was ample testimony at trial from HMC witnesses that members always back each other

  up, appear in large numbers so as to intimidate, and it would not be acceptable for a

  member to wait outside if there was going to be a confrontation inside involving a HMC

  member. The record is also replete with evidence that it is commonplace for HMC

  members to possess firearms. There are wire-taps of conversations between Nagi and

  others concerning weapons he keeps in his home. (Gov’t Ex. 27, 10/19/05 conversation

  between Nagi and J. Jarrell; Gov’t Ex. 40, December 15, 2005 conversation between Nagi

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  and his son concerning weapons.) Given Mr. Nagi’s admission in his conversation with

  Vanhulle that there was a gun in the back of his pick-up that the police missed (Gov’t Ex.

  44) and a gun was tossed into a snow bank, a reasonable jury could infer that Manners

  was not the only person that was armed at the Wheat and Rye during the Kirchoff assault.

       The conclusion that there is sufficient evidence on Count 31 as to Defendants Nagi

  and Cicchetti finds support in the Sixth Circuit’s decision in Rattigan v. United States, 151

  F.3d 551, 557-58 (6th Cir. 1998). In Rattigan, the defendant argued that he could not “be

  convicted of ‘using’ a firearm in violation of § 924(c)(1) because no evidence was

  introduced to indicate that he actually possessed the gun.” Id. at 557. The court rejected

  the argument, observing that, under 18 U.S.C. § 2, “[a]ccomplice liability . . . holds one

  criminally responsible for acts that he or she assists or influences another in performance.”

  Id. It further explained that “[a]iding and abetting has been described as one’s desire to in

  some sort associate himself with the venture, that he participate in it as something that he

  wishes to bring about, that he seek by his action to make it succeed.” Id. at 557-58

  (internal quotation marks and citations omitted). It cautioned that “[t]he government must

  show that the defendant was a participant rather than merely a knowing spectator, that his

  presence at the scene of the crime was not surplusage, and that the crime would not have

  transpired without him.” Id. at 558. It then announced the standard that the Court applies

  here. “This can be satisfied if the accomplice knows that the principal is armed and acts

  with the intent to assist or influence the commission of the underlying predicate act.” Id.

       In Rattigan, the court affirmed a decision that the defendant had aided and abetted

  another’s use of a gun in relation to a drug trafficking crime, agreeing that “it may be

  reasonably inferred from the repetitive nature of the drug sales that Rattigan knew of [the

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  other person]’s gun and benefitted from its presence for protection. . . .” Id. Similarly here,

  applying the Rule 29 standard and Sixth Circuit precedent, this Court concludes that a

  reasonable jury could infer from the evidence described above and at trial that Defendants

  Nagi and Cicchetti knew Manners had a gun and acted with the intent to assist or influence

  the assault on Kirchoff with fists and beer bottles while Manners pointed the gun at Kirchoff

  and then fired it into the ceiling. The decisions Defendants’ rely on do not support a

  contrary conclusion.

       The Court now addresses Defendant Cicchetti’s individual Rule 29 arguments.

       (ii) Defendant Cicchetti’s Count 2 - RICO Conspiracy Argument

       Defendant Cicchetti argues that there is insufficient evidence to support his conviction

  under Count 2 of the Indictment, the RICO conspiracy, because there is no evidence

  showing that Cicchetti had a leadership role in the HMC enterprise or was involved in the

  affairs of the enterprise. The Court disagrees.

       First, proof of a leadership role is not an element of a RICO conspiracy charge. As

  the Supreme Court recently held, an association-in-fact RICO enterprise “must have at

  least three structural features: a purpose, relationships among those associated with the

  enterprise, and longevity sufficient to permit these associates to pursue the enterprise’s

  purpose.” Boyle v. United States, ___ U.S. ___, 129 S. Ct. 2237, 2244 (2009). An

  association-in-fact enterprise is defined as “a group of persons associated together for a

  common purpose of engaging in a course of conduct.” Id. (internal quotations and citation

  omitted). Even if leadership were a required element, there is sufficient evidence that

  Cicchetti held a leadership position in the HMC enterprise by virtue of his membership in

  the “committee” and because he was the Detroit Chapter President in 2009 and for a period

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  in 2002 when Anthony Clark became National President. (Trial Tr. Vol. 16, Fitzner at 16-

  17; Vol. 18, D. Sanchez at 27-29.)

       Second, what is required to prove a RICO conspiracy is evidence that the defendant

  “agreed that someone would commit two predicate acts.” Driver, 535 F.3d at 432. There

  was ample evidence introduced at trial that would allow a reasonable jury to find that

  Defendant Cicchetti agreed that someone would commit two of the predicate acts alleged

  in Count 2. Nat Sanchez and Lou Fitzner provide testimony from which a reasonable jury

  could infer Cicchetti’s agreement that someone would commit the predicate act involving

  the Liberty Riders robbery alleged in Racketeering Act 7. (Trial Tr. Vol. 17, N. Sanchez at

  22-27; Vol. 16, L. Fitzner at 19-22.) There is also ample testimony and wire-tap evidence

  from which a reasonable jury could infer Cicchetti’s agreement that someone would commit

  the predicate acts involving the Burton drug conspiracy alleged in Racketeering Act 9.

  Bobby Burton testified that he distributed cocaine to Cicchetti, that Cicchetti purchased

  cocaine from him, and that he saw Cicchetti with and using cocaine. (Trial Tr. Vol. 7,

  Burton at 87-88.) Mr. Peters also testified that Cicchetti got a lot of drugs off him and that

  he would sell enough to pay for them. (Trial Tr. Vol. 13, Peters at 134.) Likewise, Daniel

  Sanchez testified that he saw Cicchetti distribute cocaine by laying it out and sharing it with

  others, that Cicchetti used and shared cocaine all the time, and that he would buy it from

  whomever had it. (Trial Tr. Vol. 19, D. Sanchez at 47-48; Vol. 18, D. Sanchez at 43-44.)

  Chris Miller testified that Cicchetti distributed cocaine at Jacobs bar often enough that

  “everybody knew that if you want something real quick, just go there and get it from him.”

  (Trial Tr. Vol. 12, Miller at 23-24.) As to Racketeering Act 11, Lou Fitzner testified that Nagi

  used members like Cicchetti to sell drugs. (Trial Tr. Vol. 16, L. Fitzner at 28.)

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        (iii)   There is Sufficient Evidence Re: Cicchetti and Count 19

        Finally, Defendant Cicchetti argues that the wire-tapped calls between Nagi and him

  (Gov’t Exs. 41, 54, 56) and the above-described testimony about Cicchetti’s purchases,

  sharing, sales, and distribution of cocaine is insufficient for a reasonable jury to convict him

  on the drug conspiracy alleged in Count 19. The jury convicted Cicchetti on this Count and

  specifically found that he conspired to distribute, or to possess with intent to distribute less

  than 1 kilogram of cocaine. Contrary to Cicchetti’s arguments here, the evidence described

  above is sufficient; a rational jury could convict Cicchetti of the charges alleged in Count

  19.




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  III.   Conclusion

         For the above stated reasons, Defendants’ Rule 29 and Rule 33 motions are DENIED.



                  s/Nancy G. Edmunds
                  Nancy G. Edmunds
                  United States District Judge

  Dated: September 14, 2010

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on September 14, 2010, by electronic and/or ordinary mail.

                  s/Carol A. Hemeyer
                  Case Manager




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